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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PAUL ALKINS,                                  :
                                              :
              Plaintiff,                      :
                                              :
       v.                                     :      Civil Action No.: 2:19-cv-00763
                                              :
THE BOEING COMPANY,                           :
                                              :
              Defendant.                      :


PLAINTIFF’S RESPONSE TO DEFENDANT’S STATEMENT OF MATERIAL FACTS
  IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff, Paul Alkins (hereinafter, “Plaintiff”), by and through his counsel, submits this

Response to Defendant’s Statement of Material Facts in Opposition to Defendant’s Motion for

Summary Judgment.

   1. Admitted.

   2. Admitted.

   3. Admitted.

   4. Admitted.

   5. Admitted.

   6. Admitted.

   7. Admitted.

   8. Denied. Plaintiff never used drugs or alcohol while at work at Boeing. See Ex. 1 to

       Deft’s Statement of Facts (SOF) (Pl’s Dep. 103:5-9). Plaintiff testified that the closest in

       time to the start of his shift at Defendant that he took amphetamines was seven, eight

       hours beforehand.

   9. Admitted.
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10. Admitted.

11. Admitted.

12. Admitted.

13. Admitted.

14. Admitted.

15. Admitted.

16. Admitted.

17. Admitted.

18. Admitted.

19. Denied. Plaintiff denied that the leave taken for his inpatient treatment with Livengrin

   was FMLA leave. See Ex. 1 to Deft’s SOF (Pl’s Dep. 299:13-300:3). Instead, Pat

   Hoffman, the Union representative, handled the paperwork associated with drug and

   alcohol treatment. See Ex. 1 to Deft’s SOF (Pl’s Dep. 300:11-15).

20. Admitted.

21. Admitted.

22. Admitted.

23. Admitted.

24. Admitted. By way of further response, Plaintiff’s sister was brutally murdered, and

   Plaintiff also was experiencing acute withdrawal syndrome. See Ex. 1 to Deft’s SOF

   (Pl’s Dep. 158:24-159:5; 307:19-20).

25. Admitted with clarification. The Reed Group was Defendant’s third-party administrator

   for managing all aspects of Defendant’s FMLA leave for Defendant’s employees,

   including Plaintiff. Although The Reed Group may have sent letters to Plaintiff’s



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   attention, his complete mental breakdown impacted Plaintiff’s ability to read and process

   instructions. See Ex. 1 to Deft’s SOF (Pl’s Dep. 199:3-9; 199:18-21). In addition,

   Plaintiff had a post office box and was unable to obtain his mail regularly as a result of

   his complete mental breakdown. See Ex. 1 to Deft’s SOF (Pl’s Dep. 196:16-197:1).

26. Admitted that a letter dated January 22, 2017 was sent to Plaintiff. It is denied that

   Plaintiff received the letter on January 22, 2017, as Plaintiff had a post office box and

   was not regularly accessing his mailbox due to his extreme state of depression and mental

   distress. See Ex. 1 to Deft’s SOF (Pl’s Dep. 196:12-197:1).

27. Admitted that Plaintiff ultimately submitted the completed HCP forms on March 20,

   2017. By way of further response, Plaintiff received an extension to submit the forms on

   February 23, 2017 and Plaintiff’s requested extension was communicated to Defendant

   on February 23, 2017, the day of Plaintiff’s termination. See Ex. C to Pl’s

   Counterstatement of Facts (Email, February 23, 2017, REED000311). Further, Plaintiff

   was ultimately approved for protected FMLA leave for the time period in question. See

   Ex. F to Pl’s Counterstatement of Facts (Letter, March 10, 2017, REED000201-

   REED000203).

28. Admitted.

29. Admitted with clarification. By way of further response, Plaintiff’s medical records

   confirm that Plaintiff was experiencing a severe mental breakdown for which he began

   treatment on March 7, 2017. See Ex. G to Pl’s Counterstatement of Facts (HCP Form).

   Further, Plaintiff was ultimately approved for protected FMLA leave for the time period

   in question. See Ex. F to Pl’s Counterstatement of Facts (Letter, March 10, 2017,

   REED000201-REED000203).



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30. Admitted that Defendant has accurately quoted the referenced letter. By way of further

   response, on February 23, 2017, Mr. Hoffman and a Clinical Case Manager from the

   Reed Group, had a conference call with Plaintiff wherein Mr. Hoffman noted that

   Plaintiff’s depression had become bad and Plaintiff had been isolating himself. See Ex. 1

   to Deft’s SOF (Pl’s Dep. 248:5-10).

31. Admitted in part; denied in part. It is admitted that Plaintiff did not report to work on

   February 20, 21, 22, 23, and it is admitted that Plaintiff did not contact the Attendance

   Line during these dates. It is denied that the Reed Group made multiple attempts to

   “contact” Plaintiff as Plaintiff was not able to access his post office box due to extreme

   depression and distress during the dates in question. By way of further response, on

   February 23, 2017, Mr. Hoffman and a Clinical Case Manager from the Reed Group, had

   a conference call with Plaintiff wherein Mr. Hoffman noted that Plaintiff’s depression

   had become bad and Plaintiff had been isolating himself. See Ex. 1 to Deft’s SOF (Pl’s

   Dep. 248:5-10). As a result of this telephone call on February 23, 2017, Plaintiff

   received an extension of time to submit the requested forms and his request for FMLA

   leave for the dates in question was approved. See Ex. D to Pl’s Counterstatement of

   Facts (Letter, February 23, 2017, REED000151-REED000153); Ex. F to Pl’s

   Counterstatement of Facts (Letter, March 10, 2017, REED000201-REED000203).

32. Denied. Plaintiff testified that during the dates in question, February 20, 21, 22, and 23,

   he was in a state of extreme distress, was not leaving his bed for days at a time, was able

   to communicate, read, or process instructions. See Ex. 1 to Deft’s SOF (Pl’s Dep.

   306:23-307:6). Although Plaintiff testified to making telephone calls earlier in his leave,




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   there is no testimony that Plaintiff was capable of calling anyone during the dates in

   question.

33. Admitted with clarification. During the dates in question, Plaintiff required FMLA leave

   during this time for mental stress, anxiety, and depression. See Ex. 1 to Deft’s SOF (Pl’s

   Dep. 306:23-307:6). Further, Plaintiff was ultimately approved for protected FMLA

   leave for the time period in question. See Ex. F to Pl’s Counterstatement of Facts (Letter,

   March 10, 2017, REED000201-REED000203).

34. Denied. It is denied that the deposition testimony cited by Defendant supports the

   allegations in this paragraph.

35. Admitted. It is admitted only that Defendant terminated Plaintiff for not reporting to

   work on February 20, 21, 22, 23 and not calling the Attendance Line on the dates in

   question. By way of further response, Defendant was aware that Plaintiff was on

   potentially qualifying FMLA leave at the time and Plaintiff was subsequently approved

   for protected FMLA leave for the very absences that resulted in Plaintiff’s termination.

   Further, Plaintiff was ultimately approved for protected FMLA leave for the time period

   in question. See Ex. F to Pl’s Counterstatement of Facts (Letter, March 10, 2017,

   REED000201-REED000203).

36. Admitted that Defendant accurately cited the referenced Employee Corrective Action

   Memo.

37. Admitted.

38. Denied. It is denied that the deposition testimony cited by Defendant supports the

   allegations in this paragraph. Instead, Plaintiff testified that Pat Hoffman contacted

   Plaintiff and instructed Plaintiff to go to his front door to receive a FedEx package. Mr.



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   Hoffman was worried about Plaintiff and rushed to Plaintiff’s house. See Ex. 1 to Deft’s

   SOF (Pl’s Dep. 251:21-252:11).

39. Admitted with clarification. It is unclear whether Richard Buxton, Defendant’s EAP

   counselor, was also on the conference call. See Ex. 1 to Deft’s SOF (Pl’s Dep. 249:20-

   250:13).

40. Admitted.

41. Admitted in part; denied in part. It is admitted that Plaintiff testified that he had no

   personal knowledge of whether anyone at Defendant had knowledge of Plaintiff’s request

   for an extension of FMLA leave. It is denied that Defendant lacked such knowledge. In

   an email dated February 23, 2017 sent to Michael Marchiano and Amantha Simpson-

   Ruddock, both at Defendant, from the Reed Group, Defendant was notified that Plaintiff

   has requested an extension of his leave of absence under FMLA. See Ex. C to Pl’s

   Counterstatement of Facts (Email, February 23, 2017, REED000311). By way of further

   response, Defendant delegated its administration of its employees’ FMLA leave to the

   Reed Group. See Deft’s SOF at ¶ 25.

42. Admitted that Defendant accurately cited the referenced letter. By way of further

   response, Plaintiff was ultimately approved for protected FMLA leave for the time period

   in question.

43. Admitted.

44. Admitted with clarification. On February 23, 2017, Plaintiff received a verbal

   confirmation from the representative of the Reed Group that his extension request had

   been approved. See Ex. 1 to Deft’s SOF (Pl’s Dep. 252:12-253:15).




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45. Admitted. By way of further response, on February 23, 2017, Richard Buxton,

   Defendant’s EAP counselor, was in the process of securing a spot for Plaintiff to treat

   with Mirmont Behavioral Health for Intensive Treatment, and which treatment began on

   March 7, 2017. See Ex. 1 to Deft’s SOF (Pl’s Dep. 250:14-18).

46. Admitted with clarification. Defendant delegated oversight of its employees’ FMLA

   leaves to the Reed Group, and the Reed Group determined that Plaintiff was approved for

   protected FMLA leave. See Deft’s SOF at ¶ 25.

47. Denied. It is unlawful for Defendant to terminate an employee for absences protected by

   the FMLA, which is what Defendant did with respect to Plaintiff.

48. Admitted.

49. Admitted.

50. Denied. Defendant initially cancelled Plaintiff’s medical benefits effective February 23,

   2017. See Ex. 1 to Deft’s SOF (Pl’s Dep. 181:1-3). The Union, however, reinstated

   Plaintiff’s medical benefits, and, once reinstated, remained in effect until March 31,

   2017. See Ex. 1 to Deft’s SOF (Pl’s Dep. 181:1-12).

51. Denied. By way of further response, Plaintiff testified that he inquired about an

   employment position with Fizzano Brothers Concrete in April 2017, thus negating his

   inability to work for one year following his termination. See Ex. 1 to Deft’s SOF (Pl’s

   Dep. 75:10-77:6). Further, on the HCP Form, Erin O’Brien indicated that Plaintiff could

   return to work on April 1, 2017. See Ex. G to Pl’s Counterstatement of Facts (HCP

   Form).




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   52. Admitted. It is admitted that Plaintiff applied for social security benefits and was denied

      as it was determined that he was not disabled. See Ex. 1 to Deft’s SOF (Pl’s Dep. 52:14-

      17).

   53. Admitted.

   54. Admitted. By way of further response, Plaintiff was ultimately approved for FMLA

      leave through April 9, 2017. See Ex. J to Pl’s Counterstatement of Facts (Email,

      February 23, 2017, REED000300).

   55. Admitted.

   56. Admitted. Plaintiff, however, did not think he was qualified to be a tugboat operator.

      Plaintiff, moreover, did not want to relocate to Florida. See Ex. 1 to Deft’s SOF (Pl’s

      Dep. 94:2-9).

   57. Admitted.

   58. Admitted only that Plaintiff could not recall the names of any other positions to which he

      applied. See Ex. 1 to Deft’s SOF (Pl’s Dep. 102:2-11).




                                                     RESPECTFULLY SUBMITTED,
                                                     KOLLER LAW, LLC


Dated: November 4, 2019                      By:     /s/ David M. Koller_
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